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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:23CR3051
                                                       4:23CR3052
    vs.

JOHNNY PALERMO,                                          ORDER

                 Defendant.



     On the court’s own motion,

     IT IS ORDERED:

     1)    Defendant's plea hearing will be held before the undersigned
           magistrate judge on October 19, 2023 at 2:00 p.m. Defendant is
           ordered to appear at this hearing.

     2)    The time between today's date and the district court judge's
           acceptance or rejection of the anticipated plea of guilty shall be
           excluded for speedy trial calculation purposes. 18 U.S.C. §
           3161(h)(7). Failing to timely object to this order as provided under
           this court’s local rules will be deemed a waiver of any right to later
           claim the time should not have been excluded under the Speedy
           Trial Act.

     Dated this 22nd day of September, 2023.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
